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                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF KANSAS

LLOYD FREEMAN

                   Plaintiff,

v.                                                                   Case No. 05-CV-2554-CM-DJW

KELLOGG COMPANY,

                   Defendant.

                                                 PROTECTIVE OR DER

          Upon consideration of the parties' jointly-proposed Pro tective Order, the Court finds and orders as follow s:

          This is an employm ent case which includes allega tions pertaining to non-party employees, supervisors, and

Kellogg's confidential personnel and business practices. The parties anticipate that in their respective disclosures and

discovery requests and respo nses ce rtain sensitive and proprietary or confid ential doc um ents, specifically, Plaintiff's

medical records, personnel files of parties and non-parties, tax returns and non-public internal operating documents of

Defendant will be requested or produced . The parties seek to protect the privacy of such documents and against releasing

such documents pub licly beyo nd the need s of this litigation. Such protection may only be accomplished through the entry

of a protective order.

          For good cause shown, specifically, in order to expedite the flow of discovery material, facilitate the prompt

resolution of disputes over confidentiality, provide adequate protection for material entitled to be kept confidential, and

ensure that pro tection is afforded only to ma terial so entitled,

         IT IS HEREBY ORDERED THAT:

1.       Confidential Information. As used in this Order, the term "Confidential Inform ation" shall be applicable to

         and govern (a) all personnel records produced by Defendant of persons other than Plaintiff (except that to the

         extent Plaintiff's personnel records may include information about other personnel, such records will be

         designated confidential), including, but not limited to personnel files, personnel investigations, promotion

         records, hiring records, salary and benefit records, employment applications, resumes, employee evaluations,

         and other documents concerning employee performance; (b) non-public, confidential information relating to



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     the business of Defendant, including its non-public, confidential financial information and non-public,

     confidential internal o perations informatio n; (c) the tax record s of Pla intiff; and (d) med ical, employm ent,

     education, and fina ncial record s of Plaintiff or others. All of the foregoing information, as well as any

     designated portions of deposition testimony, respo nses to interrogatories, requests for adm issions, or requests

     for production of d ocuments concerning the above-described Confidential Information is hereby designated as

     "CONFIDENTIAL ." The execution and entry of this Protective Order is not intended to authorize the

     disco verab ility or ad missibility of any inform ation o r documents of any party, including documents within the

     categories ab ove, which rem ain governe d by the general discovery and evidentiary rules.

2.   No Disclosure. Except upon further Order of this Court or by express written consent of counsel for the parties,

     Confidential Information furnished in this action by any of the parties shall not be disclosed to any person other

     than:

     a.       Parties and counsel for the parties in this action who are actively enga ged in the conduc t of this

              litigation; and the partners, associates, secretaries, legal assistants, and employees of such counsel, to

              the extent reasonably necessary to render professional services to the litigation;

     b.       Any indep endent document reprod uction services or d ocument record ing and retrieval services;

     c.       Outside consultants, expert witnesses, independent doc ument reproduction or retrieval service, or any

              other non-party with access to or knowledge of the Confidential Information, upon agreement of such

              individuals or entities to b e bound b y the terms of this Protective Order, in the form attached hereto

              as the "Acknowledgm ent."

3.   Use of Confidential Information. Confidential Information shall be used only in connection with these

     proceedings and any app eals arising therefrom. No Confidential Information produced in discovery in this case

     shall be used for any purpose other than in connection with this case and any appeals arising therefrom. No

     Confidential Information shall be disclosed to any other p erson , party, entity, agency, p rint or electronic media,

     or anyone outside this proceeding for any purpose.




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4.   M aintaining Confidentiality. Any party who receives any C onfidential Info rmatio n pro vided pursuant to this

     Order shall maintain such Confidential Information in a secure and safe area. The party shall take care that any

     such information or the content of such information, or notes or memoranda related thereto, not be disclosed

     to anyone o ther than qualified perso ns.

5.   Filing Confidential Information. If any information which a party designates as "CONFIDEN TIAL" is filed

     with the Court as a part of a motion, brief, or related matter (unless otherwise agreed by the parties or ordered

     by the Court), the party making such a filing shall file a motion with the Court seeking leave to file the

     Confidential Inform ation under seal. If the C ourt grants leave to file under seal, the Confidential Information

     shall be filed separately in a sealed envelope containing the following notice: "CONFIDENTIAL - SUBJECT

     TO PROTECTIVE ORD ER," together with a cover sheet stapled to the sealed envelope containing the case

     caption, signature of the attorney for the filing party, and a list of the title(s) of the confidential document(s).

6.   Confidential Inform ation in D epositions. Parties (and deponents) may, within 30 days after receiving the

     transcript of a de position, designate pages of the transcript (and exhibits thereto) as confidential. Confidential

     Information within the deposition transcript may be designated by a letter to oppo sing counsel indicating the

     portions of the tran script that are co nfidential. Until expiration of the 30 -day period , the entire transcript will

     be treated as subject to protection against disclosure under this O rder. If no pa rty or deponent timely designated

     Confidential Inform ation in a deposition, then no ne of the transcript or its exhibits (other than those pre viously

     designated) will be treated as confidential. There shall be no need to re-designate documents or exhibits which

     have been previously designated as c onfidential.

7.   Subject to C ourt's Jurisdiction. Each party to who m disc losure of all or part of the aforesaid Confidential

     Inform ation is made agrees to subject himself/herself to the jurisdiction of this Court for the purpose of

     proceedings relating to the performance under, compliance with, or violation of this Protective Order.

8.   Return of Confidential Information. Up on the final determination of this action, including the expiration or

     time for any further appeals, whether by judgment, settlement, or otherwise:

     a.       Counsel of record for each party receiving Confidential Information shall return to the designating

              party all such documents containing Co nfidential Information and all notes, memo randa, co pies,


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               abstracts, excerpts, or other parts within 60 days, except that all materials constituting work product

               of such counsel shall be destroyed by the party in possession;

      b.       Any party who received any Confidential Inform ation shall return to the pro ducing party all copies of

               Confidential Information that are in the possession o f such person(s), toge ther with all notes, copies,

               abstracts, excerpts, memoranda, or other parts, and counsel for the designating party shall dispose of

               the documents and things in accordance with paragraph 8(a); and

      c.       Counsel of record for each party shall confirm in writing that all Confidential Information, do cuments,

               and things, together with all notes, copies, abstracts, memoranda, excerpts, or other parts have been

               returned to the producing party or destroyed in accordance with the terms of paragraph 8(a) and 8(b)

               above.

9.    No Admission. Nothing in this Order shall be construed as an admission as to the discoverability, relevance,

      authenticity, foundation, or admissibility of any document, material, transcript, or other information.

      IT IS SO ORDERED.

      Dated in Kansas City, Kansas on this 8th day of August, 2006.


                                                              s/ David J. Waxse
                                                              David J. W axse
                                                              United States Magistrate Judge
cc:   All counsel and pro se parties




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